Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 1 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 2 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 3 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 4 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 5 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 6 of 7
Case 3:18-cr-00090-MCR   Document 147   Filed 01/13/19   Page 7 of 7
